     Case 1:20-cv-08525-VEC-OTW Document 7 Filed 10/16/20 Page 1 of 4
                                                 USDC SDNY
                                                 DOCUMENT
                                                 ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                     DOC #:
SOUTHERN DISTRICT OF NEW YORK                    DATE FILED: 10/16/2020
 WILLIAM JAMES,

                               Plaintiff,
                                                            20-CV-8525 (VEC)
                        -against-
                                                                 ORDER
 COMMISSIONER OF SOCIAL SECURITY,

                               Defendant.


VALERIE CAPRONI, United States District Judge:

       By separate Order being entered today, this case is being referred to the assigned

Magistrate Judge for a report and recommendation on any motion for judgment on the pleadings.

To conserve resources, to promote judicial efficiency, and in an effort to achieve a faster

disposition of this matter, it is hereby ORDERED that the parties must discuss whether they are

willing to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the

assigned Magistrate Judge.

       If both parties consent to proceed before the Magistrate Judge, counsel for the defendant

must, within two weeks of the date on which Defendant enters an appearance, either mail or

email directly a fully executed Notice, Consent, and Reference of a Civil Action to a Magistrate

Judge form, a copy of which is attached to this order (and also available at

http://nysd.uscourts.gov/file/forms/consent-to-proceed-before-us-magistrate-judge). If the Court

approves that form, all further proceedings will then be conducted before the assigned Magistrate

Judge rather than before me. An information sheet on proceedings before magistrate judges is

also attached to this order. Any appeal would be taken directly to the United States Court of

Appeals for the Second Circuit, as it would be if the consent form were not signed and so

ordered.
      Case 1:20-cv-08525-VEC-OTW Document 7 Filed 10/16/20 Page 2 of 4


       If either party does not consent to conducting all further proceedings before the assigned

Magistrate Judge, the parties must file a joint letter, within two weeks on which Defendant

enters an appearance, advising the Court that the parties do not consent, but without

disclosing the identity of the party or parties who do not consent. The parties are free to

withhold consent without negative consequences.

SO ORDERED.

Dated: October 15, 2020
       New York, New York


                                                                 Valerie Caproni
                                                            United States District Judge




                                                2
         Case 1:20-cv-08525-VEC-OTW Document 7 Filed 10/16/20 Page 3 of 4


                  United States District Court
                  Southern District of New York




                        UNITED STATES MAGISTRATE JUDGES:
                            REFERRALS AND CONSENTS

All cases in the Southern District of New York are assigned to two judges: a district
judge and a magistrate judge. District judges are appointed for life terms by the
President. Magistrate judges are selected by a majority vote of the district judges in the
particular district and serve terms of eight years.

Referrals to the Magistrate Judge. The district judge assigned to your case may refer
the case to a magistrate judge for specific purposes. Commonly, the referral will be for
the magistrate judge to conduct the proceedings that occur before trial, such as
resolving discovery disputes or presiding over settlement conferences. A referral may
also be made for the magistrate judge to issue to the district judge a report and
recommendation on how to resolve a motion, such as a motion to dismiss or a motion
for summary judgment. The consent of the parties is not needed for the district judge to
refer the case to the magistrate judge for these purposes. If the district judge has made
such a referral, you can ask the district judge to review any magistrate judge’s decision
by filing an objection with the district judge within fourteen days of that decision. The
district judge will rule on any timely objections that you file. If you do not file an
objection, you will give up your right to challenge the magistrate judge’s decision at a
later time, including on appeal. See Rule 72 of the Federal Rules of Civil Procedure.

Consent to Proceed Before the Magistrate Judge. If you would like your case to move
more quickly, it is helpful to consent to proceed before the magistrate judge for all
purposes, including any trial. If you consent, the magistrate judge will perform the
identical function that the district judge would have performed. Any trial in your case
would be either a jury or a nonjury trial, depending upon whether there is a right to a
jury trial and a proper request for such a trial. The only difference is that the magistrate
judge – and not the district judge – would preside over that trial. Cases that proceed for
all purposes before a magistrate judge generally move more quickly than cases before a
district judge. If you consent to proceed before the magistrate judge, the district judge
plays no further role in the case. Any appeal is taken directly to the Court of Appeals. It
is your choice whether or not to consent to proceed before the magistrate judge, and all
parties must consent or the case will not proceed before the magistrate judge.

A copy of the appropriate consent form is attached. Additional forms are also available
from the Pro Se Office and on the Court’s website.

         THE DANIEL PATRICK MOYNIHAN              THE CHARLES L. BRIEANT, JR.
          UNITED STATES COURTHOUSE                 UNITED STATES COURTHOUSE
               500 PEARL STREET                      300 QUARROPAS STREET
           NEW YORK, NY 10007-1312                WHITE PLAINS, NY 10601-4150
                                   PRO SE OFFICE
                                   (212) 805-0175
Rev. 3/7/14
                    Case 1:20-cv-08525-VEC-OTW Document 7 Filed 10/16/20 Page 4 of 4
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                      for the
                                                          Southern District
                                                        __________  DistrictofofNew York
                                                                                 __________

                                                                                )
                                 Plaintiff                                      )
                                    v.                                          )     Civil Action No.
                                                                                )
                               Defendant                                        )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                  District Judge’s signature



                                                                                                    Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.



         Print                           Save As...                                                                             Reset
